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                         THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division


R.M.S. TITANIC, INC.,
Successor in interest to Titanic
Ventures, limited partnership,

       Plaintiff,

v.                                                  Civil Action No.: 2:93cv902

The Wrecked and Abandoned
Vessel, . . . believed to be
The RMS TITANIC, in rem,

       Defendant.


             THE TRUSTEES OF THE NATIONAL MARITIME MUSEUM’S
                      AMENDED MOTION TO INTERVENE

       COMES NOW the Trustees of the National Maritime Museum (“NMM”), by and

through its undersigned counsel, and pursuant to Fed. R. Civ. P. 24(a) and (b) moves to intervene

in the above-captioned action for the reasons more fully set forth in the accompanying

Memorandum in Support.

                                              TRUSTEES OF THE NATIONAL
                                              MARITIME MUSEUM

                                              By: /s/ Edward J. Powers
                                                       Of Counsel


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*Pro hac vice admission pending

Attorneys for the Trustees of the National Maritime Museum


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing pleading was electronically filed with
the Court’s ECF system causing ECF notification to be sent to all counsel of record.


                                                    /s/ Edward J. Powers

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